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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 District of Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Vesttoo Bay XXI, Limited Partnership
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  1, Maharal St.
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                              Tel Aviv-Yafo
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                             6248101, Israel
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://vesttoo.com/
                                              ____________________________________________________________________________________________________




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Debtor         Vesttoo Bay XXI, Limited Partnership
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
                                          ✔ Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5 ___
                                             ___  2 ___
                                                     4 ___
                                                        2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ✔ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor
               Vesttoo Bay XXI, Limited Partnership
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________       When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a                       See Annex 1
      business partner or an             ✔ Yes. Debtor _____________________________________________
                                                                                                    Relationship _________________________
      affiliate of the debtor?                               Delaware
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         

 12. Does the debtor own or have         
                                         ✔ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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    Debtor
                  Vesttoo Bay XXI, Limited Partnership
                 _______________________________________________________                            Case number (if known)_____________________________________
                 Name




     13. Debtor’s estimation of              Check one:
         available funds                     ✔ Funds will be available for distribution to unsecured creditors.
                                             
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              1-49                               1,000-5,000                                25,001-50,000
     14. Estimated number of
                                              50-99                              5,001-10,000                               50,001-100,000
         creditors
                                              100-199                            10,001-25,000                              More than 100,000
                                              200-999

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     15. Estimated assets
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     16. Estimated liabilities
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                 Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of
                                                 petition.
         debtor
                                             Q   I have been authorized to file this petition on behalf of the debtor.

                                             Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                                08/14/2023
                                                 Executed on _________________
                                                             MM / DD / YYYY


                                             8   _____________________________________________                Ami Barlev
                                                                                                              _______________________________________________
                                                 Signature of authorized representative of debtor             Printed name

                                                        Authorized Signatory
                                                 Title _________________________________________




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             Vesttoo Bay XXI, Limited Partnership
Debtor      _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ R. Craig Martin
                                          _____________________________________________            Date         08/14/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         R. Craig Martin
                                         _________________________________________________________________________________________________
                                         Printed name
                                          DLA Piper LLP (US)
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201   North Market Street, Suite 2100
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Wilmington
                                         ____________________________________________________                DE
                                                                                                         ____________ 19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 468-5700
                                         ____________________________________                            craig.martin@us.dlapiper.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         5032
                                         ______________________________________________________       DE
                                                                                                ____________
                                         Bar number                                             State




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                                             ANNEX A
        On the date hereof, each of the entities below (collectively, the “Debtors”) filed a voluntary
petition relief under chapter 11 of title 11 of the United States Code in the United States
Bankruptcy Court for the District of Delaware. The Debtors have moved for joint administration
of these cases under the case number assigned to the chapter 11 case of Vesttoo US Inc.:

       1.      Vesttoo US Inc.
       2.      Vesttoo Ltd.
       3.      Vesttoo SPV Holdings LLC
       4.      Vesttoo Reinsurance Intermediary Services Inc.
       5.      Vesttoo Asset Management LLC
       6.      Vesttoo Securities (USA) LLC
       7.      Vesttoo UK LTD
       8.      Vesttoo Japan Co., LTD
       9.      Vesttoo Korea Inc.
       10.     Vesttoo Holdings Ltd.
       11.     Vesttoo Hong Kong Limited
       12.     Vesttoo Malta Ltd.
       13.     Vesttoo Malta Trading Ltd.
       14.     Vesttoo Marketplace Ltd.
       15.     Vesttoo Alpha Holdings Ltd.
       16.     Vesttoo Bermudian Bay Ltd.
       17.     Vesttoo Alpha Special Purpose Trust
       18.     Vesttoo Alpha Manager Ltd.
       19.     Vesttoo Alpha P&C Fund GP, L.P.
       20.     Vesttoo Alpha P&C Fund L.P.
       21.     Vescor Bay GP, L.P.
       22.     Vescor Bay, L.P.
       23.     Vesttoo Partners 101, L.P.
       24.     Vesttoo Partners 102, L.P.
       25.     Vesttoo Partners 103, L.P.
       26.     Vesttoo Partners 104, L.P.
       27.     Vesttoo Partners 105, L.P.
       28.     Vesttoo Bay One Limited Partnership
       29.     Vesttoo Bay X, Limited Partnership
       30.     Vesttoo Bay XI, Limited Partnership
       31.     Vesttoo Bay XII, Limited Partnership
       32.     Vesttoo Bay XIII, Limited Partnership
       33.     Vesttoo Bay XIV, Limited Partnership
       34.     Vesttoo Bay FIFTEEN, Limited Partnership
       35.     Vesttoo Bay XVI, Limited Partnership
       36.     Vesttoo Bay XVII, Limited Partnership
       37.     Vesttoo Bay XVIII, Limited Partnership
       38.     Vesttoo Bay XIX, Limited Partnership
       39.     Vesttoo Bay XX, Limited Partnership
       40.     Vesttoo Bay XXI, Limited Partnership
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41.   Vesttoo Bay XXII, Limited Partnership
42.   Vesttoo Bay XXIII, Limited Partnership
43.   Vesttoo Bay XXIV, Limited Partnership
44.   Vesttoo Bay XXV, Limited Partnerhip
45.   Vesttoo Bay One Hundred, Limited Partnership
46.   Vesttoo Bay One Hundred One, Limited Partnership
47.   Vesttoo Bay One Hundred Two, Limited Partnership
48.   Vesttoo Bay 103, Limited Partnership
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                              JOINT ACTION BY UNANIMOUS WRITTEN CONSENT
                             OF THE BOARD OF DIRECTORS OF VESTTOO LTD. AND
                                      THE AUTHORIZED SIGNATORY OF
                                     EACH OF THE FILING SUBSIDIARIES

                                                     Dated: August 14, 2023

                    Whereas the (i) members of the Board of Directors (the “Board”) of Vesttoo Ltd., an Israeli
            corporation (“Vesttoo”), by and through its authorized signatory, Ami Barlev, and (ii) Ami Barlev,
            as the authorized signatory of the companies listed in the signature blocks below (each, a “Filing
            Subsidiary” and collectively, the “Filing Subsidiaries” and, together with Vesttoo, the “Company”)
            hereby take the following actions and hereby do adopt, consent, approve, and ratify the following
            recitals and resolutions that were unanimously approved by the Board of Vesttoo, at a meeting
            held on August 12, 2023.

            Chapter 11 Filing

                     WHEREAS, the Board has surveyed potential restructuring options for the Company and
            considered presentations by the management of and the advisors to Vesttoo regarding the assets,
            liabilities and short- and long-term liquidity situation of the Company, the consequences of the
            pending litigation on such Company’s liquidity and the impact of the foregoing on the Company’s
            business, prospects, and enterprise value;

                   WHEREAS, the Board had the opportunity to consult with and ask questions of the
            management, the legal and financial advisors, and other consultants to the Company, and has fully
            considered each of the strategic alternatives available to the Company;

                    WHEREAS, in the business judgment of the Board it is desirable and in the best interests
            of the Company, its creditors, its stakeholders, and other parties in interest to authorize the
            Company to enter into one or more restructuring transactions (collectively, the “Restructuring
            Transactions”), including, among other things, financing or a recapitalization of the Company,
            which may include submission of a Plan of Reorganization or a sale of all or substantially all of
            the Company’s assets under title 11 the United States Code (the “Bankruptcy Code”), and to file
            or enter into other related pleadings and documents; and

                     WHEREAS, in furtherance of the Restructuring Transactions and after being fully
            informed, and after careful consideration and deliberation, in the judgment of the Board, after
            consulting with the management, legal and financial advisors of, and other consultants to, the
            Company, it is desirable and in the best interests of the Company, its creditors, its equity holders
            and other parties in interest, that the Company file or cause to be filed forthwith voluntary petitions
            for relief (such voluntary petition commencing a “Chapter 11 Case” and collectively, the “Chapter
            11 Cases”) under the Bankruptcy Code; and

            NOW, THEREFORE, IT IS

                    RESOLVED, that Vesttoo and each Filing Subsidiary shall be, and hereby is, authorized
            to file or cause to be filed forthwith a Chapter 11 Case under the provisions of the Bankruptcy


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            Code in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);
            and it is further

                     RESOLVED, that Ami Barlev or any authorized officer (or their designees and delegates)
            of the Company (collectively, the “Authorized Officers”), acting alone or with one or more other
            Authorized Officers, be, and hereby are, authorized, empowered and directed to execute and file
            on behalf of each Company all petitions, schedules, lists, motions, certificates, declarations, papers
            and documents, and to take any and all action that any one or more deem necessary or proper to
            obtain such relief, including, without limitation, any action necessary to maintain the ordinary
            course operation of each Company’s business or to successfully prosecute the Chapter 11 Case;
            and it is further

                    RESOLVED, that the Authorized Officers are hereby authorized and empowered, in the
            name of and on behalf of the Company, to take actions and negotiate or cause to be prepared and
            negotiated and to execute, deliver, perform and cause the performance of any agreements,
            certificates, instruments, petitions, motions or other papers or documents in furtherance of the
            Restructuring Transactions to which the Company is or will be a party, including but not limited
            to, any asset or stock purchase agreement, chapter 11 plan, disclosure statement, and all exhibits
            and/or ancillary documents related thereto (collectively, the “Restructuring Documents”); and it
            is further

            Retention of Professionals

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
            directed to employ the law firm of DLA Piper LLP (US) and any of its affiliate firms (“DLA
            Piper”), as general bankruptcy counsel to represent and assist the Company in carrying out its
            duties under the Bankruptcy Code or other insolvency laws, and to take any and all actions to
            advance the Company’s rights and obligations, including filing any motions, objections, replies,
            applications or pleadings; and the Authorized Officers are hereby authorized and directed to
            execute appropriate retention agreements, pay appropriate retainers and to cause to be filed an
            appropriate application for authority to retain the services of DLA Piper; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
            directed to employ the firm of Kroll, LLC, and any of its related entities, including, but not limited
            to, Kroll Associates UK Ltd., Kroll (HK) Limited, or Kroll Bermuda Ltd., as Financial Advisor to
            represent and assist the Company in carrying out its duties under the Bankruptcy Code or other
            insolvency laws, and to take any and all actions to advance the Company’s rights and obligations;
            and in connection therewith, the Authorized Officers are hereby authorized and directed, in the
            name of and on behalf of the Company, to execute appropriate retention agreements, pay
            appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
            services of Kroll Restructuring Administration; and it is further

                     RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
            directed to employ Epiq Corporate Restructuring LLC (“Epiq”), as notice and claims agent as well
            as administrative, solicitation, and balloting agent to represent and assist the Company in carrying
            out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
            rights and obligations; and in connection therewith, the Authorized Officers are hereby authorized

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            and directed, in the name of and on behalf of the Company, to execute appropriate retention
            agreements, pay appropriate retainers and to cause to be filed appropriate applications for authority
            to retain the services the notice and claims agent selected by an Authorized Officer; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
            directed to employ any other professionals that are reasonably necessary to assist the Company in
            carrying out their duties under the Bankruptcy Code and to advance the Company’s rights and
            obligations; and in connection therewith, the Authorized Officers are hereby authorized and
            directed, in the name of and on behalf of the Company, to execute appropriate retention
            agreements, pay appropriate retainers and to cause to be filed appropriate applications, to the
            extent necessary, for authority to retain the services of any such additional professionals; and it
            is further

            Restructuring Transaction

                   RESOLVED, that the Company shall be, and hereby is, authorized to pursue and
            implement a Restructuring Transaction following the date hereof and as may be further approved,
            modified, or amended by one or more of the Authorized Officers in its reasonable judgment and
            in consultation with the Company’s professionals; and it is further

                   RESOLVED, that the Company, and the Authorized Officers, shall be, and each of them
            hereby is, authorized to execute, deliver, and perform its obligations under one or more purchase
            agreements, license agreements, or other transactions agreements and all associated agreements,
            schedules, certificates, instruments, guaranties, notices, and other documents implementing a
            Restructuring Transaction, as may be deemed necessary or desirable by any of the Authorized
            Officers; and it is further

                    RESOLVED, that each Company shall be, and hereby is, authorized to file or cause to be
            filed a motion seeking approval of a Restructuring Transaction, subject to such modifications
            thereto as such Authorized Officer may deem necessary or advisable in order to give effect to and
            carry out the general purposes of such Restructuring Transaction, including (i) bidding procedures,
            a stalking horse purchaser and the payment of certain fees (including expense reimbursement and
            breakup fees) to the stalking horse purchaser; (ii) a plan of reorganization or liquidation, associated
            disclosure statement, to the extent applicable, and all other related documents, and consummate,
            and perform under, the transactions contemplated therein and/or (iii) to dismiss or close the
            Chapter 11 Cases and execute all related documents as may be reasonably necessary or desirable
            in the best interests of the Company and its stakeholders; and it is further

            General

                    RESOLVED, that each Board member has received sufficient notice of the actions and
            transactions relating to the matters contemplated by the foregoing resolutions, as may be required
            by the organizational documents of the Company, or hereby waive any right to have received such
            notice; and it is further

                   RESOLVED, that the Authorized Officers are authorized and directed, in the name of and
            on behalf of the Company, under the Company’s corporate seal or otherwise, to make, enter into,

                                                                     3
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            execute, deliver and file any and all other or further agreements, documents, certificates, materials
            and instruments, to disburse funds of the Company, to take or cause to be taken any and all other
            actions, and to incur all such fees and expenses as any such Authorized Officer deems to be
            necessary, appropriate or advisable to carry out the purposes of the foregoing resolutions and the
            transactions contemplated thereunder and/or to successfully complete the Chapter 11 Cases, the
            taking of any such action or execution of any such documents and/or agreements to constitute
            conclusive evidence and the exercise of such discretionary authority; and it is further

                    RESOLVED, that any act or acts of the Company or its officers, directors or of any person
            or persons designated and authorized to act by an officer of the Company, which act or acts would
            have been authorized by the foregoing resolutions except that such act or acts were taken prior to
            the adoption of such resolutions, be, and they hereby are, ratified, confirmed, authorized, approved
            and adopted in all respects and for all purposes as acts in the name and on behalf of the Company.

                                                     [Signature Pages Follow]




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                    IN WITNESS WHEREOF, the undersigned have executed this Consent as of the date
            first written above.


                                                                VESTTOO LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO US INC.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO SPV HOLDINGS LLC


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO REINSURANCE INTERMEDIARY
                                                                SERVICES INC.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO ASSET MANAGEMENT LLC


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory




                                                     [Signature Page to Consent]
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                                                                VESTTOO SECURITIES (USA) LLC


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO UK LTD


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO JAPAN CO., LTD


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO KOREA INC.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO HOLDINGS LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO HONG KONG LIMITED


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory

                                                     [Signature Page to Consent]
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                                                                VESTTOO MALTA LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO MALTA TRADING LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO MARKETPLACE LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO ALPHA HOLDINGS LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BERMUDIAN BAY LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO ALPHA P&C LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory

                                                     [Signature Page to Consent]
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                                                                VESTTOO ALPHA SPECIAL PURPOSE TRUST


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO ALPHA MANAGER LTD.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO ALPHA P&C FUND GP, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO ALPHA P&C FUND L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESCOR BAY GP, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESCOR BAY, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory

                                                     [Signature Page to Consent]
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                                                                VESTTOO PARTNERS 101, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO PARTNERS 102, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO PARTNERS 103, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO PARTNERS 104, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO PARTNERS 105, L.P.


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY ONE LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory

                                                     [Signature Page to Consent]
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                                                                VESTTOO BAY X, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XI, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XII, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XIII, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XIV, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory




                                                     [Signature Page to Consent]
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                                                                VESTTOO BAY FIFTEEN, LIMITED
                                                                PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XVI, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XVII, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XVIII, LIMITED
                                                                PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XIX, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory




                                                     [Signature Page to Consent]
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                                                                VESTTOO BAY XX, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XXI, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XXII, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XXIII, LIMITED
                                                                PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY XXIV, LIMITED
                                                                PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory




                                                     [Signature Page to Consent]
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                                                                VESTTOO BAY XXV, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY ONE HUNDRED, LIMITED
                                                                PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY ONE HUNDRED ONE,
                                                                LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY ONE HUNDRED TWO,
                                                                LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory


                                                                VESTTOO BAY 103, LIMITED PARTNERSHIP


                                                                By:
                                                                Name: Ami Barlev
                                                                Its: Authorized Signatory




                                                     [Signature Page to Consent]
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:
                                                   Chapter 11
 Vesttoo Bay XXI, Limited Partnership,
                                                   Case No. 23-_______ ( )
                  Debtor.


                            CORPORATE OWNERSHIP STATEMENT

          Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the undersigned

authorized signatory of Vesttoo Bay XXI, Limited Partnership, the above-captioned debtor, hereby

certifies that the following corporate entities, other than a governmental unit, own the specified

percentage of Vesttoo Bay XXI, Limited Partnership’s equity interests, as of the date hereof:

                  Equity Holder                             Percentage of Total Equity

               Vesttoo Holdings Ltd.                            1% Ownership Interest

                  Limited Partner                             99% Ownership Interest
               Case 23-11205-MFW         Doc 1     Filed 08/15/23     Page 22 of 23




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:
                                                   Chapter 11
 Vesttoo Bay XXI, Limited Partnership,
                                                   Case No. 23-_______ ( )
                  Debtor.


                            LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), Vesttoo Bay XXI, Limited

Partnership, hereby provides the following list of holders of equity interests:

     Name and Address of
                                         Kind of Interest              Percentage of Interest
       Interest Holder

     Vesttoo Holdings Ltd.
       1 Maharal Street
                                            Partnership                           1%
       Tel Aviv – Yafo
        6248101 Israel


          Limited Partner                   Partnership                           99%
                         Case 23-11205-MFW                                  Doc 1          Filed 08/15/23               Page 23 of 23




Fill in this information to identify the case and this filing:



Debtor Name Vesttoo Bay XXI, Limited Partnership

United States Bankruptcy Court for the:                          District of Delaware
                                                                          (State)
Case number (If known):


Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                   another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
                                  Form 204)


                   ☒              Other document that requires a declaration Corporate Ownership Statement; List of Equity Security
                   Holders

I declare under penalty of perjury that the foregoing is true and correct.

Executed on                08/14/2023
                       MM / DD / YYYY                              /s/ Ami Barlev
                                                                  Signature of individual signing on behalf of debtor

                                                                  Ami Barlev
                                                                  Printed name
                                                                  Authorized Signatory
                                                                  Position or relationship to debtor
